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RECEIVED IN CLERK'S OFFICE
      U.S.D.C. -Atlanta        I THE UNITED STATES DISTRICT COURT FOR THE
                                        NORTHERN DISTRICT OF GEORGIA
    OCT 25 2021                                   ATLANTA DIVISION


                                                                  CIVIL ACTION FILE NO.


                                    Plaintiff,
                                                                     1 : 21-CV- 4 4 3 4
                              v.
                                                                          COMPLAINT
          BEDROCK CAPITAL GROUP, INC
          RICHARD J. RANDOLPH, III                                JURY TRIAL DEMANDED
          JAMYE ALLEN,
          JOHN DOES 1-8, e t ~

                                    Defendants.



                                                 VERIFIED COMPLAINT

                     COMES NOW Plaintiff CHRISTOPHER JONES and states his Complaint against

        Defendants Bedrock Capital Group, Inc., Richard J. Randolph, Jayme Allen, and John Does 1-8

        ("Defendants") as follows:


                                      NATURE OF THE ACTION AND PARTIES

                                                             I.

                     a)      The Nature of The Action And Parties are fully incorporated into the Causes of

        Action herein. Plaintiff was recently Chief Executive Officer and shareholder of Defendant

        Bedrock Capita}. Group, Inc. and E.F. Block Georgia ("Bedrock" or the "Company"), and

        otherwise held a beneficial ownership interest in the Company during all times material to this

        action.
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         b)      Plaintiff brings this action based upon Plaintiffs right as Chief Executive Officer

 and as a minority shareholder to assert a direct action against Defendants to recover damages

 attributable to Defendants' collective tortious conduct that constitutes a breach of Defendants'

 fiduciary duties as former Chief Executive Officer or present Board Chairman to Plaintiff and for

 wrongful termination. Plaintiff shows here that Defendants have also conspired and acted

 collectively to "freeze out" Plaintiff from any participation whatsoever in the Company, and

 otherwise oppress and prevent Plaintiff from being able to perform his duties as CEO and from

 benefiting from his employment and/or ownership interest therein. Such actions serve to

 specifically impair the Plaintiffs reputation and the value and marketability of Plaintiffs authority

 and shares by denying him of gainful employment by this wrongful termination action.

Plaintiff was notified via email from Defendant Jayme Allen and Defendant Richard Randolph

criminal defense attorney Daniel D. Mr. D knows or should know that Defendant Bedrock Capital

Group, Inc is legally prohibited from collecting investment funds and that his client Richard

Randolph is also prohibited by Court order from actively holding an office, selling shares, units, or

collecting investments, among other things from the public.

        c)       At all times relevant to this Complaint Defendant Jayme Allen does not and has

 never had the authority to terminate the Chief Executive Officer, nor does Defendant Richard

 Randolph have any authority whatsoever to terminate the Chief Executive Officer, even by proxy

 or limited power of attorney under Georgia law. Defendant Richard Randolph is currently under a

 7~-month federal sentence and then a three-year supervised release term. At best, it is likely to be

 at least ten years before he is before any Board for consideration of returning to an active qualified

 position with the Company. The Georgia Limited Power of Attorney is hereby being challenged

 on its face as well as in nature and in its legal authority under Georgia Law. There were no written

 or established provisions by the Company to acknowledge, or respect any Georgia Limited Power

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of Attorney for Defendant Richard J. Randolph III, nor was there ever any action by the Board to

acknowledge and accept Defendant Jayme Allen as a bona fide proxy, and to the extent of such

limitations is demanded by a declaratory judgement which is sought by the Plaintiff through the

Courts. Only Company Board of Directors can terminate a Chief Executive Officer. There are no

minutes from the Board of Directors authorizing such termination. The Plaintiff submit that there

has been no action by the Board of Directors whatsoever granting termination of the Chief

Executive Officer.

       d)      The Plaintiff brings this action derivatively on behalf of himself and others

similarly situated, as well as in the interest of justice because Defendant Bedrock Capital Group,

Inc was and is the catalyst for which defendant Randolph used to scam investors, and Plaintiff

brings this action to recover corporate assets investors' principle and return on investment that

have been diverted from the Company, as well as to recover improper dividends that have been

distributed unevenly and improperly by the Company under Defendant Randolph as CEO and at

the instance and direction of Defendant Randolph as Chairman of the Board of Directors, in

conspiracy with the other Defendants. Defendant Jayme Allen, individually and through a Georgia

Limited Power of Attorney for Defendant Richard Randolph, conspired with, and otherwise

operated with the cooperation of Defendants who controls a majority interest in Bedrock Capital

Group, Inc. through which he has orchestrated a pattern of frauds, misappropriation, misconduct

and the creation of fraudulent investment documents and other distributions for the benefit of

himself and the other Defendants, most of whom are "favored shareholders." The Plaintiff will

show unto the Court.

     El) The Defendants admit that are terminating and separating from Plaintiff because he

withdrew Bedrock Capital Group, Inc from the Georgia Secretary of State. This is proof of

retaliation and harassment under Title VII of the Civil Rights Act, 1964. This action is not a

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collusive one to confer jurisdiction that this Court would otherwise lack.


       e)      Plaintiff Christopher Jones was recruited by Defendant Richard Randolph, ID to

serve as Chief Executive Officer for Bedrock Capital Group, Inc, Bedrock Capital Group Holdings,

LLC,. Bedrock Capital Real Estate Holdings, LLC as well as CEO of E.F. Block Georgia LLC,

Plaintiff also became a shareholder in the Company at the acceptance of the position.

       f)      Prior to that time, Plaintiff was Managing Member of Equityworks, LLC a South

Carolina Limited Liability Company.

       g)      On or about September 7, 2021 Plaintiff accepted offer to be serve as Chief

Executive Officer in exchange for $125,000 per year with bonuses and benefits. In addition to

being entitled to a revenue share of the Company's profits. Accordingly, at all times relevant

hereto, Plaintiff was vested with the authority to manage Company's day to day activities. Plaintiff

had a fiduciary duty of care, duty of loyalty and a duty of disclosure.

       h)      Plaintiff fairly and adequately represents the interests of the Company in enforcing

the rights of t?e Company.

       i)      Out of an abundance of caution, on October 12, 2021 Plaintiff served the Georgia

Secretary of State with a Notice of Withdrawal of the Company from the Georgia Secretary of

State's database in good standing, see O.C.G.A. § § 14-3-1520. A true and correct copy of the

October 12, 2021 Withdrawal is attached hereto as Exhibit "A". Previously, on April 1, 2021

Defendant Randolph pled guilty for violating certain Securities and Exchange laws and restrictions,

and then again on April 9, 2021 Defendant Randolph pled guilty to a parallel criminal offense in

the Northern District of Georgia. On August 6, 2021 defendant Randolph was sentence to 78 months

in the BOP. Defendants Randolph surrendered to the BOP on September 21, 2021. Defendant

Randolph and Plaintiff Jones were seemingly close friends. Plaintiff Jones spoke at Defendant

Randolph sentencing in hopes of home confinement and/or a CCC sentence. Plaintiff Jones even
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privately approached the Federal prosecutor and begged for leniency for Defendant Randolph.

There was clearly a close relationship between this Plaintiff and Defendant Randolph. Plaintiff

accepted the responsibilities of the Chief Executive Officer after being approach by Defendant

Randolph on two occasions to take the position. Prior to Randolph surrender to BOP, both spent a

significant amount of time together discussing the transition.


        j)      Plaintiff also brings this action to obtain a declaratory judgment that

specific transactions previously engaged in by Richard Randolph or the Company, whereby shares,

units or equity were sold by Richard Randolph or the Company are in violation of the August 6,

2021 Judge Grimberg's sentencing requirements, and the SEC April 1, 2021 penalty document


                                                                            -
Exhibit__, as well as a violation of Company Bylaws and that there was a violation in providing

questionable Memorandum of Understandings and Membership Agreements to investors.

        k)      Plaintiff seeks preliminary and permanent injunctive relief to enjoin Defendants

from engaging in business transactions inconsistent with the Court's Order, and with the

Company's ordinary course of business or that constitute de facto distributions to defendant

Randolph and favored shareholder. Plaintiff further seeks an emergency injunction to enjoin

Defendant Randolph from conducting business from federal prison. Plaintiff further seeks to enjoin

Defendant Randolph from further retaliation and harassment against Plaintiff for withdrawing the

Bedrock Capital Group, Inc. entity from the Georgia Secretary of State because this specific entity

was directly involved with the fraudulent conduct of Defendant Randolph and operates as a detriment

to the Company. On or about October 2, 2021 Plaintiff and Defendant Jayme Allen met with potential

investors and secured $88,000 for the initial purchase of 43 manufacturing molds. Plaintiff Jones

required that potential investor pay direct to suppliers to gain credibility. However, immediately after

the agreed terms by zoom call with the overseas suppliers KBM, Defendant Allen on direction from

Randolph sent the investor wiring instructions for Bedrock Capital Group, Inc. and not the wiring

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 instructions for KBM, (Denmark). Naturally, this angered the potential investor and they committed

 to conduct a thorough due diligence and discovered that Bedrock Capital Group, fuc. is owned by

 Defendant Richard Randolph who is restricted by the SEC and the Sentencing Court. The potential

 investor collected all court documents and pulled out of direct investing the sum of $200,000, of

 which the $88,000 for the molds was also cancelled. Plaintiff will show that such actions and

 conduct were improperly taken by Defendants to violate Defendant Randolph agreement with the

 Sentencing Court, and detrimentally impact the Company's ability to gain profitability and value,

 and reduce the marketability of Company shares.

        I)      Plaintiff further seeks appointment of an auditor to examine the books and records

 of the Company, and conduct an accounting and/or audit of prior unauthorized distributions by the

 Company so that such distributions may be recovered for the benefit of the Company, investors

 and Plaintiff may recover their fair share of these distributions.

        m)      Finally, Plaintiff seeks redress on behalf of the Company, and himself for fraud,

conversion, conflict of interest transactions and the intentional breach of fiduciary duty by

· Defendants in connection with the operation and management of the Company as well as to seek

remedy for the wrongful termination action taken against him.


        Plaintiff Christopher Jones is a citizen and resident of Greenville, Carolina and at the

current rate would own_?_ shares in the Company. (Audit Requested).


                                             The Parties

                                             3.
        Defendant Bedrock Capital Group, fuc is a corporation organized and existing under the

laws of the State of Delaware and the State of Georgia, with its principal place of business located

in Atlanta, Fulton County, Georgia. Defendants are an "employer" engaged in an industry affecting

commerce as defined by 42 U.S.C. § 2000e(b).
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        This Court has personal jurisdiction over Defendant Bedrock Capital Group, Inc.

("hereinafter referred to as Bedrock"). Defendant Bedrock Capital Group, Inc. dba E.F. Block

Georgia is a for-profit Delaware corporation and Georgia foreign corporation. At all times relevant,

Defendant E.F. Block Georgia, LLC operated its business within the State of Georgia.

                                                    4.

        Defendant Richard Randolph, is a citizen of Georgia, who resides in Atlanta, Georgia. Mr.

Randolph was the former CEO, director and majority shareholder of the Company, prior to his

incarceration, and personally purports to own at least 51 % shares of the Company.

                                                    5.

        Defendant Jamye Allen is the romantic interest of Defendant Richard Randolph and is

employee of E.F. Block Georgia as Director of Recycling. Ms. Allen is a citizen of Georgia who

resides in Atlanta, Fulton County, Georgia. Plaintiff is not sure of the number of shares Ms. Allen

owns.

                                                         6.

        Defendant John Does 1-8 are believed to have acted in collusion with named Defendants

to retaliate and harass Plaintiff for his dissolving of Bedrock Capital Group, Inc. Atlanta Fulton

County, Georgia.      An approved audit is needed to appraise the number of units and shares

outstanding for the Company.


                                  JURISDICTION AND VENUE

        Plaintiff is a citizen of South Carolina. Defendants are citizens of Georgia. Accordingly,

there is diversity of citizenship between the parties within the meaning of 28 U.S.C. § 1332.

Moreover, the amount in controversy, without interest and costs, exceeds the sum or value

($75,000) required by 28 U.S.C. § 1332. Accordingly, this Court may exercise subject matter

jurisdiction over this action.
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                                                           7..



       The Court has original subject-matter jurisdiction pursuant to 18 U.S.C. §1331 because this

      action arises, in part, under Title VII 42 U.S.C.§ 1981, 42 U.S.C.§ 2000e.

       The Court also has subject-matter jurisdiction pursuant to 28 U.S.C. §1332. The Court has

      jurisdiction over Plaintiffs related state and common law claims pursuant to the doctrine of

      supplemental jurisdiction 28 U .S .C. § 1367.


              Venue is also appropriate in this District and Division pursuant to

      28 U.S.C. § 1391 and Local Rule 3.1 (N.D. Ga).


                                                      8.

       The majority of the outstanding shares in Bedrock Capital Group, Inc. are owned and/or

controlled by Defendant Richard Randolph, ill. If and to the extent Plaintiff is required to assert

certain claims derivatively on behalf of the Company, Plaintiff shows that given the nature of these

asserted claims and the antagonistic managerial <?Ontrol of the Company by Defendant Richard

Randolph and other Defendants, Plaintiffs claims are unavoidably opposed by the Company. As

such, Bedrock Capital Group, Inc. is properly aligned as a Defendant in this proceeding. See

Duffey v. Wheeler, 820 F.2d 1161 (11 th Cir. 1987).



                                                      9.

       Nonetheless, Plaintiff shows that the actions of Defendants taken in concert have caused

special and distinct injuries to Plaintiff, thereby authorizing a direct action in this case. See

Rosenfeld v. Rosenfeld, 286 Ga. App. 61 (2009).




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                                                     10.

       Moreover, a direct action is proper in this case because Bedrock Capital Group, Inc. is a

closely held corporation and the facts and circumstances of this matter show that the reasons for

the general rule requiring a derivative suit do not apply.        Id.; Kirk v. First Nat. Bank of

Columbus, 439 F. Supp. 1141 (M.D. Ga. 1977); Stoker v. Bellemeade, LLC, 272 Ga. App.

817,821 (3) (615 SE2d 1) (2005).



                                                     11.

       To wit: (a) Defendant Bedrock is a closely held corporation; (b) there is no risk of multiple

suits by shareholders in this case at this time; (c) there is no need for protection of corporate

creditors in this case (financial statements have not been provided to plaintiff as CEO, however

no significant debts are demonstrated);

(d) in the event of a recovery, reinstating Bedrock Capital Group, Inc with the Georgia Secretary

of State is not an option, legally, and merely increasing all share values of Defendant Bedrock

would not adequately compensate Plainti(f; and (e) it would be futile to require Plaintiff, a minority

shareholder, to sue on behalf of Defendant Bedrock Capital Group, Inc when the recovery from

such a suit would merely return funds to the control of the individual Defendant shareholders and

there is no ready market for the minority shares of Defendant Bedrock Capital Group, Inc. in any

case. Id.

                                                     12.

       As such, Plaintiff is authorized to bring this action against Defendants as a direct action.




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                                                  13.

        f) Defendants continue to breach their fiduciary obligations to Plaintiff and to existing

investors and are effectively wasting Company money and assets in which Plaintiff has a legitimate

ownership interest.

        g) It is an obvious and inherent breach of fiduciary duty to continue to operate Bedrock

Capital Group, Inc., in any regard or to take new investment funds, depreciate and/or waste its

corporate assets, as well as assume the risks associated with this enterprise, without properly

accounting to and/or compensating investors or Plaintiff as a significant minority shareholder under

such circumstances.

       h) By way of example, Plaintiff recently learned from widespread reports of another set of

investors secondary to the 14 previous investors who invested their money with Defendant Randolph

through Defendant Bedrock Capital Group, Inc. The previous investors, now victims have not

received any restitution and would not receive any restitution through Defendant Bedrock Capital

Group, Inc. because this Company does not have $1.6MM in the bank or does not have $1,6MM in

assets. Defendant Bedrock Capital. qroup, Inc. would have to raise new funds from new investors,

(which is prohibited and is illegal). Plaintiff quickly discovered that there are a second round of

investors with a minimum of $1,214,000 cash invested in the same Company, Defendant Bedrock

capital Group, Inc. Defendant Randolph personally and completely destroyed the ability for

Defendant Bedrock Capital Group, Inc, to be a viable entity having the ability to go forward and raise

capital legitimately. For this, the Plaintiff was wrongfully terminated.



       COUNT ONE: TITLE VII - RETALIATION AND HARASSMENT

       i). Plaintiff incorporates herein paragraphs a through h of his Complaint. Defendants have

engaged in intentional retaliation and harassment and created a hostile work environment in the terms
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and conditions of the Plaintiffs employment, including, but not limited to, the Plaintiffs wrongful

termination committed by these Defendants.

Plaintiffs claims against the Bedrock Capital Group, Inc. ("BCG") include claims for disparate

treatment and retaliation in violation of Title VII of the Civil Rights Act of 1964 ("Title VII"), 42

U.S.C. § 2000e et seq. and 42 U.S.C. § 1981 (Counts I,)

       j). Defendants' conduct violates Title VII. On October 18, 2021, the Plaintiff was notified via

email from Defendant Jay Allen on behalf for Defendant Richard Randolph that he was terminated

for dissolving Bedrock Capital Group, Inc.

        k). Plaintiff filed a timely Charge of Retaliation and Harassment with the Equal Employment

Opportunity Commission ("EEOC"). The Plaintiff has satisfied all statutory prerequisites for filing

this action. The Plaintiff has filed this action under Title VII within ninety (90) days after receipt of

his right to sue. Defendants' conduct, in violation of Title VII, has caused the Plaintiff to suffer a

loss of pay, benefits, and prestige.

       1). Defendants' actions have caused Plaintiff to suffer mental and emotional distress, entitling

him to compensatory damages_pursuant to 42 U.S.C. § 1981. Defendants have engaged in retaliatory

practices with malice and reckless indifference to the Plaintiffs federally protected rights, thereby

entitling him to punitive damages pursuant to 42 U.S.C. § 1981. In order to establish a prima facie

case of retaliation under Title VII and 42 U.S.C. § 1981, the plaintiff will show (1) that he engaged

in a protected activity, (2) that his employer took a "materially" adverse action against him and (3)

that a causal connection existed between the activity and the adverse action.



       m). Title VII protects participation and opposition activity. 42 U.S.C. § 2000e-3(a). The

participation clause protects an employee from retaliation where he "has made a charge, testified,

assisted, or participated in any manner in any investigation, proceeding, or hearing" under Title VII.


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Id. The Plaintiff has opposed any unlawful practice under Title VII. The plaintiff will show that the

workplace is permeated with discriminatory intimidation, ridicule, and insult that is sufficiently

severe or pervasive to alter the conditions of his employment and created an abusive working, he is

also protected from retaliation for exercising his duty as Chief Executive Officer.



        n). Plaintiff is entitled to recover monetary damages directly and proximately caused by

Defendants' respective participation in breaches of fiduciary duties to Plaintiff, and the company and

for Defendants' self-dealing, waste, and participation in improper conflict of interest transactions.



        COUNT TWO: BREACH OF FIDUCIARY DUTY

        o). Plaintiff repeats and realleges the allegations set forth herein as if all such allegations

were restated verbatim.

       p). Defendant Richard Randolph, as a former Chairman of the Board of the Company, the

former CEO of the Company, and its majority shareholder, occupied a position of trust and special

confidence with respe_ct to the investors and the Plaintiff. The relationship between Defendant

Randolph, investors and Plaintiff requires Mr. Randolph to act in good faith with respect to the duties.

       q). Defendants Richard Randolph has engaged in specific actions, as well as a pattern of

conduct, whereby he has directed Company activities from prison and distributions for his own

benefit and the benefit of certain family members and friends prior to prison, while discriminating

against and oppressing the Plaintiff. He performed as an officer, chairman of board, and majority

shareholder of the Company without legal or corporate authority to do so.




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COUNT THREE: Failure to Pay Minimum Wage


        r). The allegations of each of the preceding paragraphs are realleged and incorporated herein

by reference.

        s). The Fair Labor Standards Act of 1938 ("FLSA'), 29 U.S.C. 201, et seq. applied to

Plaintiffs employment with Defendants at all times relevant herein.

Section 206 of the FLSA, 29 U.S.C. 206(a)(l)(C), mandates that employers pay all employees

engaged in commerce or in the production of goods for commerce, minimum wages for their work

in an amount set by federal law. Section 218 of the FLSA, 29 U.S.C. 218(a), provides that employers

pay such a minimum wage as established by state law, should it be higher than the federal minimum.

During the relevant time period the federal minimum wage was $7.25 per hour. For the entire period

of employment, Plaintiff was not paid any wages, nor any compensation at all.

        t). Defendants failed to maintain proper and accurate records as mandated by the FLSA. Upon

information and belief, Defendants have not preserved any records substantiating the hours worked

and monies which are due to Plaintiff. The Plaintiff has calculated his due pay by way of the start

date September·?, 2021 and wrongful termination date of October 18, 2021 with an average of 12

hours per day.

u). Defendants willfully, intentionally, and with reckless disregard, failed to pay Plaintiff at wage

even at a minimum wage, for all of the hours worked in violation of FLSA.

Because of Defendants' unlawful failure and refusal to pay Plaintiff wages, Plaintiff is entitled to,

pursuant to 216(b) of the FLSA, 29 U.S.C. 216(b), to recover his unpaid wages, including interest

and liquidated damages thereon, in an amount to be proven at trial, as well as reasonable attorney's

fees and costs.

As a direct consequence of Defendants' conduct as alleged herein, Plaintiff has been injured in its

business, property and reputation causing Plaintiff to suffer monetary damages in an amount not

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less than $500,000, said damages to be proven at the time of trial.

For the reasons stated in the preceding section, Plaintiff is entitled to punitive damages from the

Defendants, and each of them.




                                PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

Finding that all defendants are jointly and severally liable for all damage caused to

Plaintiff;

    1. Awarding Plaintiff monetary damages in an amount not less than $500,000,

        said amount to be proven at trial;

    2. Awarding Plaintiff enhanced monetary damages pursuant to Title VIl.


    3. Awarding Plaintiff its litigation expenses, including reasonable attorneys'

        fees, costs, and disbursements;

   4.. ~warding Plaintiff punitive damages in the sum of not less than $1,000,000

        or an amount otherwise to be decided by a jury; and

    5. Granting such other relief as the case may require or as may be deemed

        proper and equitable.



Dated this 19th day of October, 2021.




                                                                                  Prose
                                                                           orth Street Ste. 16
                                                                       le, South Carolina 29615
                                                              864-526-2800
                                                              intljonesc@gmail.com

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         EXHIBIT




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                 Ef
                 E F Block Georgia, LLC J Our Mission is to impower the Georgia community by providing safe, sustainable, and
                 affordable residential and commercial structures that increase self-sufficiency and sustainable awareness.

    From: ecorp.noreply@sos.ga.gov <ecorp.noreply@sos.ga.gov>
    Sent: Tuesday, October 12, 20214:50 PM
    To: Richard Randolph I Level Up 700, Inc.; intljonesc@gmafl.com; eastern@northwestregisteredagent.com; lntljonesc@gmail.com
    Subject: Business Withdrawal



    Dear CHRISTOPHER JONES,



    This is a confirmation that the Business Withdrawal filing for Bedrock Capital Group, Inc. has been
    successfully submitted to the Georgia Secretary of State's office on 10/12/2021 . If the filing is accepted, you will
    receive an email confirmation along with a certificate. If the filing is not accepted, you will receive an email notification
    with the reason(s) for the rejection and instructions on how to refile.



    Thank you.

    Sincerely,

    Georgia Secretary of State - Corporations Division
    2 Martin Luther King Jr. Dr.
    313 West Tower
    Atlanta, Georgia 30334-1530
    Phone: (404) 656-2817
    Website: http://sos.g.1!.,gQJ/[

    (Note: This email has been sent by an automated process. Please do not reply to it.)




If you have any questions, please contact Jamye Allen on behalf of Richard J. Randolph Ill
(678)-491-4 706.

Regards,




Richard J. Randolph Ill
Bedrock Capital Group Inc.
Chairman of the Board
Jamye Allen to sign on behalf of Richard Randolph/Power of Attorney Attached




             1326 White Street SW I Atlanta, GA 30310                                                    .           .              1-888-EF BLOCK (332.5025)   ,
,            www ..e~le.c~ga.com                                                                                                    'info@efblockga.com         1
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           EF
                                                                              .            '             .
           E F Block Georgia, LLC I Ot1r Mission is to impower tlie Georgia commur.1ity by providin_g safe, sustainable, and
           affordable residential and commercial structures that increase self-sufficier:-icy and sustainable aware!less.



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                                    Separation/Termination Notice of Employment


Attn: Christopher Jones
3795 East North Street
Greenville, SC 29615

Date: 10/18/2021

Dear Christopher,

~ Per Richard J:    Randolph Ill ~


This letter confirms that your employment with Bedrock Capital Group, Inc. OBA E F Block Georgia, LLC is terminated,
effective as of October 18, 2021.

Due to violations and actions which have been detrimental to Bedrock Capital Group, Inc. and E F Block Georgia, LLC,
you are officially terminated from your position of Chief Executive Officer. If you are found attempting to conduct
business or representing Bedrock Capital Group, Inc. or E F Block Georgia, LLC in any capacity, you will be held
accountable, legally. Please remit any documents, keys, or any other Company property that may be in your possession
to Richard J. Randolph Ill POA, Jamye Allen, immediately.

Please note that your employment with Bedrock Capital Group, Inc. OBA E F Block Georgia, LLC was never formally
activated with new hire documents to include Executed New Hire Package (Application, Resume, NOA, Offer Letter,
Driver's License, Social Security Card, 1-9, W4, Direct Deposit Form)

Actions being detrimental to the company- On 10/12/2021 illegally withdrawing Bedrock Capital Group, Inc. a Foreign
Profit Corporation from the State of Georgia Secretary of State.

                                                              ***SEE BELOW***




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       .                                             ""   '       .               .                  "               .      .
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                    Georgia Limited Power of Attorney
       BE IT ACKNOWLEDGED that I, Richard J. Randolph 111_ _ _ _ __
••••It__________,
       social security number
                                                     Full Name
                                          the undersigned, do hereby grant a limited and
specific power of attorney to '""'Ja=m=y"-'e"'-=LC-.-'.A--==11....
                                                               en__________________
                                      Full Name
of 1502 River Green Dr. NW Atlanta, GA 30327.
       Address
as my attorney-in-fact.

       Said attorney-in-fact shall have full power and authority to undertake and perform
only the following acts on my behalf:

    1. Residential Leasing Documents
    2. Banking Documents
    3. Residential/HOA Documents pertaining to The Atlantic Condominium
    4. Banking Documents
    5. Documents pertaining to BedrockCapital Group, Inc., and its Subsidiaries
    6. Medical Records
    7. Personal Identification Documents ,
    The authority herein shall include such incidental acts as are reasonably required to
carry out and perform the specific authorities granted herein.

    My attorney-in-fact agrees to accept this appointment subject to its terms, and agrees
to act and perform in said fiduciary capacity consistent with my best interest, as my
attorney-in-fact in its discretion deems advisable.

    This power of attorney is effective upon execution. This power of attorney may be
revoked by me at any time, and shall automatically be revoked upon my death, provided
any person relying on this power of attorney shall have full rights to accept and reply
upon the authority ofmy attorney-in-fact until in receipt of actual notice of revocation.

   Signed this 20th._ _ _ _day of September_ _ _._, 2021.




                                                                                     Signatwe




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 1.i<ilL~
  name to the oregoi        Power of Attorney this
                                                        , the Witness, sign my
                                                      2 offv      dayof
                  J/1/             20   ~ j , and, being first duly sworn, do
  declare to the undersigned authority that the Principal signs and executes
  this instrument as his/her Power of Attorney and that he/she signs it
  willingly, or willingly directs another to sign for him/her, and that l, in the
  presence and hearing of the Principal, sign this Power of Attorney as
  witness to the Principal's signing and that to the best of my knowledge the
  Principal is eighteen years of age or older, of sound mind and under no
  constraint or undue influence.




                                               Signature of Witness




STATE OF
County of




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Subscribed, sworn to and acknowledged before me by_ _~_.,,_-(
                                                           ___~_,_    1
                                                                 _.-v_~_:-:_~_-,_~_-:___________,
th_J;~al, and subscribed, sworn to and acknowledged before me by
 X~&uL,theWitness,this                           2(5tb    day~\              :;le>':2.-l
                        ----------
                                             I
                 MELINDA S FULKS
         Notll'Y Public - State of Georsia



                                                  ~~~L
   1              Clayton County
       My commission Expire~ Au11 24, 2022


(Notary Seal)                                      (Signature of Notary Public)




                                                                                           Page 3 of 3
